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8                          UNITED STATES DISTRICT COURT
9                        CENTRAL DISTRICT OF CALIFORNIA
10     JESUS ALBERTO TABARES,                  Case No. 8:21-cv-01498-JWH (GJS)
11                 Petitioner
12           v.                                JUDGMENT
13     RAYMOND MADDEN,
14                 Respondent.
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17         Pursuant to the Court’s Order: Dismissing Duplicative Action; And Denying
18   A Certificate Of Appealability,
19         It is hereby ORDERED, ADJUDGED, and DECREED that the above-
20   captioned action is DISMISSED without prejudice.
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22   DATE: September 23, 2021
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